                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:10CR73-RJC

UNITED STATES OF AMERICA )
                               )
            v.                 )
                               )                      ORDER
GABRIEL CISNEROS,              )
                               )
                  Defendant.   )
_______________________________)

       THIS MATTER is before the Court on defense counsel, Jacob Sussman’s “Motion for

Inquiry Into Status of Counsel” (document #47) filed February 24, 2011. The Court conducted a

hearing on this matter on March 16, 2011.

       Having fully considered the arguments, the record, and the applicable authority, the Court

finds that there is no basis for removal of counsel for Defendant, as discussed below.

       At the hearing, defense counsel stated that he was appointed counsel for Defendant on May

20, 2010. Defendant pled guilty on July 8, 2010 and is awaiting sentencing by Chief Judge Robert

J. Conrad, Jr. Defense counsel explained that he had not had any problems with Defendant until

late January 2011, when Defendant began filing pro se motions with this Court as well as appeals

to the Fourth Circuit raising frivolous jurisdictional issues. Based on these pro se filings, defense

counsel filed the current Motion.

       Defendant told the Court that defense counsel had not been” legally” appointed and refused

to answer the Court’s questions regarding whether he wished to be represented by Mr. Sussman,

have new counsel, or proceed pro se. The Court clarified the attorney-client relationship and

explained to Defendant that there are certain decisions that must be made by him and that there are

other decisions that must be made by counsel such as identifying legal issues, deciding what motions




        Case 3:10-cr-00073-RJC          Document 52        Filed 03/16/11      Page 1 of 2
to file, and what arguments to make to the Court. The Court warned Defendant that since he is

represented by counsel, the Court will not consider any pro se filings and if Defendant continues to

file any motions the Court will strike them from the record.

       The Court then questioned defense counsel about the current state of his relationship with

Defendant. Defense counsel stated that he could communicate with Defendant and that the

relationship had not deteriorated such that he could not effectively represent him in this case.

       Based on the above facts, the Court does not find that there is a sufficient basis for removal

of counsel for Defendant.

       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Robert J. Conrad, Jr.

       SO ORDERED.

                                                 Signed: March 16, 2011




                                                 2


        Case 3:10-cr-00073-RJC          Document 52        Filed 03/16/11      Page 2 of 2
